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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                              COLUMBUS DIVISION

TRACY CARR,                                   )
                                              )
               Plaintiff,                     )
                                              )     CIVIL ACTION FILE No.
      v.                                      )
                                              )     4:21-cv-00180-CDL
THRIVE SENIOR LIVING, LLC                     )
                                              )
               Defendant.                     )
      _____________________________)

              STIPULATION OF DISMISSAL WITH PREJUDICE

      Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii), the Parties

stipulate to the dismissal with prejudice of the instant case. Except as otherwise

agreed, each Party shall bear its own attorneys’ fees and costs.

      Respectfully submitted this 12th day of August 2022.

      The Roper Law Firm                    Lewis Brisbois Bisgaard & Smith, LLP

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